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             Exhibit B
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                                                                                             PUBLIC



                               UNITED STATES OF AMERICA
                              FEDERAL TRADE COMMISSION
                           OFFICE OF ADMINISTRATIVE LAW JUDGES


__________________________________________
                                          )
In the Matter of                          )
                                          )
The Kroger Company,                       )
                                          )                    Docket No. 9428
       and                                )
                                          )
Albertsons Companies, Inc.,               )
                                          )
       Respondents.                       )
__________________________________________)


     ORDER GRANTING JOINT MOTION TO CONTINUE THE RECESS OF THE
      EVIDENTIARY PORTION OF THE PART 3 ADMINISTRATIVE HEARING

                                               I.

         Pursuant to 16 C.F.R. § 3.41(b), Federal Trade Commission (“FTC”) Complaint Counsel
and Respondents The Kroger Company and Albertsons Companies, Inc. (“Respondents,”
together with Complaint Counsel, “the Parties”) filed a joint motion to extend the current recess
in this case until 21 days after the final resolution of the related federal preliminary injunction
case captioned FTC, et al. v. Kroger Co. and Albertsons Cos., No 3:24-cv-00347-AN (D. Or.)
(“Joint Motion”). For the reasons set forth below, the Joint Motion is GRANTED.

                                               II.

        By Order issued July 12, 2024 (“July 12 Order”), the Part 3 hearing was scheduled to
convene on July 31, 2024 and then to recess until after the completion of the federal district court
preliminary injunction hearing. The July 12 Order also required the Parties to propose a schedule
for resuming the Part 3 hearing after the conclusion of the federal district court preliminary
injunction hearing.

        The Parties state that closing arguments in the preliminary injunction hearing have
concluded and that the Parties’ post-hearing filings are due on September 27, 2024. The Parties
further state that they have met and conferred since the conclusion of the federal hearing and
jointly request that this Court continue the current recess until 21 days after the final resolution
of the federal proceeding.
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                                              III.

        FTC Rule 3.41(b) permits the Administrative Law Judge to recess a Part 3 hearing “for
brief intervals of the sort normally involved in judicial proceedings[.]” Continuing the present
recess until 21 days after the final resolution of the federal proceeding is appropriate under Rule
3.41(b) for several reasons. First, according to the Parties, the federal district court informed the
Parties that it would act expeditiously to issue its ruling on the motion for preliminary injunction.
Thus, the requested continued recess is of reasonable duration and will not unduly delay
resolution of this case. Second, the requested continued recess allows the Parties to react as
appropriate to the federal district court’s rulings. Providing the Parties with time to streamline
and focus their arguments after the federal court’s rulings allows for a more orderly hearing in
this proceeding, and it will also likely reduce the expense and burden on both the Parties and
non-parties.

        Accordingly, the Joint Motion is GRANTED. The recess in the Part 3 administrative
hearing, as well as all related pre-hearing deadlines, are HEREBY CONTINUED until 21 days
after the final resolution of the federal proceeding.




ORDERED:
                                              D. Michael Chappell
                                              Chief Administrative Law Judge



Date: September 25, 2024




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